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              IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                      )
                                              )
             v.                               )   Criminal No. 18-292
                                              )
ROBERT BOWERS                                 )


MOTION TO EXTEND THE TIME FOR FILING PRETRIAL MOTIONS

      Defendant, Robert Bowers, through undersigned counsel, respectfully

requests an extension of time to file pretrial motions. In support of this

request, counsel states as follows:

      1.     On February 11, 2019, the Court arraigned Robert Bowers on a

superseding indictment alleging violations of 18 U.S.C. §§ 247(a)(2),

247(d)(1), and 247(d)(3); 18 U.S.C. §§ 249(a)(1)(B)(i) and 249(a)(1)(B)(ii); and

18 U.S.C. §§ 924(c)(1)(A)(i), 924(c)(1)(A)(ii), 924(c)(1)(A)(iii), and 924(j)(i).

      2.     Pursuant to this Court’s prior order, pretrial motions are

currently due on or before December 13, 2019. (Doc. 85.)

      3.     Due to the nature of the prosecution, which includes the

government’s Notice of Intent to Seek the Death Penalty (see Doc. 86), and

the voluminous discovery, Mr. Bowers asks this Court to consider this case
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“complex” within the meaning of the Speedy Trial Act, 18 U.S.C §

3161(h)(7)(B)(ii).

        4.   Before making informed decisions concerning the filing of pretrial

motions, counsel needs additional time to complete the investigation of the

facts and law.

        5.   Accordingly, counsel for Mr. Bowers hereby moves this Court for

an extension of time to April 23, 2020 to file pretrial motions.

        WHEREFORE, Mr. Bowers requests that this Court extend the

deadline for filing pretrial motions from December 13, 2019 until April 23,

2020.


                         Respectfully submitted,

                         /s/ Judy Clarke
                         Judy Clarke
                         Clarke Johnston Thorp & Rice, PC

                         s/ Michael J. Novara
                         Michael J. Novara
                         First Assistant Federal Public Defender

                         s/ Elisa A. Long
                         Elisa A. Long
                         Assistant Federal Public Defender
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            IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   )
                                           )
            v.                             )   Criminal No. 18-292
                                           )
ROBERT BOWERS                              )

                           ORDER OF COURT

      Upon consideration of the Motion to Extend the Time for Filing Pretrial

Motions, it is hereby ORDERED that the motion is GRANTED.

      IT IS ORDERED that any pretrial motions referred to in Local

Criminal Rule 12 are due on or before April 23, 2020.

      IT IS FURTHER ORDERED that the delay resulting from this

extension of time (December 13, 2019 until April 23, 2020) be deemed

excludable delay under the Speedy Trial Act 18 U.S.C. '3161 et seq. For the

reasons stated in Mr. Bowers’ motion, the Court finds that the ends of justice

served by granting this continuance outweigh the best interest of the public

and the defendant to a speedy trial. Specifically, the court finds that this

continuance is justified given the complexity of the case, pursuant to 18

U.S.C. ' 3161(h)(7)(A) and (B)(ii).
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_____________________                  __________________________
Date                                   Donetta W. Ambrose
                                       United States District Judge
